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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     ) Chapter 11
                                                           )
AMERIFIRST FINANCIAL, INC., et al.,1                       ) Case No. 23-11240 (TMH)
                                                           )
                                   Debtors.                ) (Joint Administration Requested)
                                                           )


     DEBTORS’ MOTION SEEKING ENTRY OF INTERIM AND FINAL ORDERS (I)
    AUTHORIZING THE DEBTORS TO (A) PAY PREPETITION EMPLOYEE WAGES,
      SALARIES, OTHER COMPENSATION, AND REIMBURSABLE EMPLOYEE
        EXPENSES AND (B) CONTINUE EMPLOYEE BENEFITS PROGRAMS
                   AND (II) GRANTING RELATED RELIEF

         AmeriFirst Financial, Inc. and its affiliated debtors and debtors in possession (each, a

“Debtor” and collectively, the “Debtors”) in the above-captioned chapter 11 cases, by and through

their undersigned proposed counsel, submit this motion (this “Motion”) for entry of interim and

final orders, substantially in the forms attached hereto as Exhibit A and Exhibit B (respectively,

the “Interim Order” and “Final Order”): (a) authorizing, but not directing, the Debtors to (i) pay

prepetition wages, salaries, other compensation, and reimbursable employee expenses, and (ii)

continue employee benefits programs in the ordinary course, including payment of certain

prepetition obligations related thereto, in an aggregate amount not to exceed $1,130,000 pursuant

to the Interim Order and $1,130,000 pursuant to the Final Order; and (b) granting related relief. In

addition, the Debtors request that the Court schedule a final hearing to consider entry of the Final

Order. In support hereof, the Debtors represent as follows:




1    The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
     LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
     117, Mesa, AZ 85203.



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                                     Jurisdiction and Venue

       1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), to the entry of a final order by the Court in connection with this

motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter final orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The bases for the relief requested herein are sections 105(a), 362(d), 363(b), 507(a),

and 541(b)(1) of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

Bankruptcy Rules 6003 and 6004, and Local Rule 9013-1(m).

                                            Background

       4.      On August 24, 2023 (the “Petition Date”), each Debtor filed a voluntary petition

for relief pursuant to chapter 11 of the Bankruptcy Code. The Debtors are operating their

businesses and managing their properties as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. Concurrently with the filing of this Motion, the Debtors filed a

motion requesting procedural consolidation and joint administration of these chapter 11 cases

pursuant toBankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has




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been made in these chapter 11 cases, and no official committee of unsecured creditors has been

appointed in these chapter 11 cases.

       5.      Debtor AmeriFirst Financial, Inc. (“AFI”) is a mid-sized independent mortgage

company. It is licensed to operate in 44 states and serves customers via branches located in over

20 states. In addition to originating and purchasing residential mortgage loans, AFI owns certain

loan master servicing rights and fees generated thereby.

       6.      Additional factual background regarding events leading to the filing of these

chapter 11 cases is set forth in the Declaration of T. Scott Avila in Support of First Day Motions

(the “Avila Declaration”), filed concurrently herewith and incorporated herein by reference.

                                    The Debtors’ Workforce

       7.      As of the Petition Date, the Debtors employ approximately 153 full-time employees

and 14 part-time employees (the “Employees”). The Employees perform a variety of functions

critical to the preservation of value and the administration of the Debtors’ estates. In many

instances, the Employees include personnel who are intimately familiar with the Debtors’

businesses, processes, and systems, and who cannot be easily replaced. Without the continued,

uninterrupted services of the Employees, the Debtors simply could not run their business and

preserve value for the benefit of all stakeholders. No Employees are party to collective bargaining

agreements or other similar labor agreements, and no Employees are members of labor unions.

       8.      In addition to the Employees, the Debtors’ workforce also includes two

independent contractors (the “Independent Contractors”), who perform necessary support for the

Debtors.

       9.      Many of the Employees and Independent Contractors rely on their compensation

and benefits to pay their daily living expenses. Thus, the Employees and Independent Contractors


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will be exposed to significant financial constraints if the Debtors are not permitted to continue

paying compensation and providing the Employees with health and other benefits. Without the

continued, uninterrupted services of their Employees and Independent Contractors, the Debtors’

continued operations and going concern value will be threatened. Consequently, the Debtors

respectfully submit that the relief requested herein is necessary and appropriate under the facts and

circumstances of these chapter 11 cases.

                             Employee Compensation and Benefits

       10.     To minimize the personal hardship the Employees could suffer if prepetition

Employee-related obligations are not paid when due or as expected and to maintain stability in the

Debtors’ workforce during the administration of the Debtors’ chapter 11 cases, the Debtors, by

this motion, seek authority, but not direction, to: (a) pay and honor certain prepetition claims

relating to, among other things, wages, salaries, and other compensation, payroll services, federal

and state withholding taxes and other amounts withheld (including garnishments, Employees’

share of insurance premiums, and taxes), reimbursable expenses, health insurance, retirement

health and related benefits, workers’ compensation benefits, life insurance, short-term and long-

term disability coverage, certain director compensation, and certain other benefits that the Debtors

have historically provided in the ordinary course (collectively, the “Employee Compensation and

Benefits”); and (b) pay all costs incident to the Employee Compensation and Benefits, collectively

in an aggregate amount not to exceed $1,130,000. For the avoidance of doubt, no Employee

Compensation and Benefits may be paid that exceeds the amounts authorized under the

concurrently filed Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A)

to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate




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Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final

Hearing, and (V) Granting Related Relief (the “DIP Motion”).

         11.        Subject to approval from the Court, the Debtors intend to continue their applicable

prepetition Employee Compensation and Benefits in the ordinary course. Out of an abundance of

caution, the Debtors further request authority to modify, change, and discontinue any of their

Employee Compensation and Benefits and to implement new programs, policies, and benefits in

the ordinary course during these chapter 11 cases without the need for further Court approval,

subject to the Bankruptcy Code and any other provisions of applicable law.

         12.        By this Motion, the Debtors seek authority to make the following payments related

to prepetition amounts owed on account of the Employee Compensation and Benefits:

                           Employee Obligation                       Interim Amount    Final Amount
             Unpaid Compensation Obligations                           $500,000         $500,000
             Withholding Obligations                                   $205,000         $205,000
             Payroll Processing Fees                                    $55,000          $55,000
             Reimbursable Expenses and Credit Care Obligations         $140,000         $140,000
     Employee Compensation                                            $900,000.00      $900,000.00
             Health Benefit Plans                                      $115,000         $115,000
             401(k) Plan                                                $15,000          $15,000
     Employee Benefits Programs                                        $130,000         $130,000
     Total                                                            $1,130,000       $1,130,000

I.       Employee Compensation and Withholding Obligations.

         A.         Unpaid Compensation.

         13.        In the ordinary course of business, the Debtors have incurred obligations to their

Employees for Employee Compensation, Independent Contractor Obligations, and Commissions

(each as defined below and collectively, the “Compensation Obligations”). As of the Petition

Date, the Debtors estimate that they owe approximately $500,000 on account of accrued but unpaid

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Compensation Obligations. Accordingly, the Debtors respectfully request that the Court authorize

the Debtors to continue to honor the Compensation Obligations and to pay any prepetition claims

with respect thereto in the ordinary course of business.

              i.       Unpaid Employee Compensation.

       14.     In the ordinary course of business, the Debtors incur obligations to their Employees

for wages, overtime, and similar obligations (the “Employee Compensation”).               Because

Employees are generally paid in arrears, certain Employees are owed accrued but unpaid

Employee Compensation as of the Petition Date (the “Unpaid Employee Compensation”).

Employee Compensation may also be due and owing as of the Petition Date because of, among

other things, potential discrepancies between the amounts paid and the amounts that Employees

believe they should have been paid, which, upon resolution, may reveal that additional amounts

are owed to such Employees, or as a result of Employees holding uncashed paper paychecks as of

the Petition Date.

       15.     The majority of the Debtors’ payroll is made by direct deposit through electronic

transfer of funds to the Employees’ bank accounts or other electronic means on a bi‑weekly

calendar, and Employee Compensation accrues on either a salaried or hourly basis. As of the

Petition Date, the Debtors estimate that they owe approximately $256,000 on account of accrued

but Unpaid Employee Compensation.

             ii.       Independent Contractor Obligations.

       16.     Typically, the Debtors hire Independent Contractors directly, and in the ordinary

course of business, incur payment obligations to their Independent Contractors for services

rendered to the Debtors (the “Independent Contractor Obligations”). The Debtors pay their

Independent Contractors on either a weekly or monthly basis at an agreed rate, depending on the


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terms of the Debtors’ agreement with the Independent Contractor. The Independent Contractors

perform critical staff augmentation that support the Debtors’ Employees and operations. The

Debtors believe that the authority to continue paying their Independent Contractors is critical to

maintaining and administering their estates. As of the Petition Date, the Debtors estimate that they

owe approximately $25,000 in accrued but unpaid Independent Contractor Obligations

(the “Unpaid Independent Contractor Obligations”).

             iii.      Unpaid Commissions.

       17.      The Debtors pay sales-based commissions to approximately 40 Employees. These

Employees market the Debtors’ products and services and generally receive commission payments

on a bi-monthly, in-arrears basis in varying percentages based on the sales tied to their individual

efforts (the “Commissions”). The Debtors generally pay Commissions in arrears based on the

Employees’ sales performance in the prior month. The Commissions are an important part of such

Employees’ overall compensation packages and motivate the Employees to maximize their sales

performance. Many of the Employees rely on the Commissions for their daily living expenses

such that the failure to pay such Commissions would impose undue hardship. On average, the

Debtors spend approximately $400,000 per month on Commissions. As of the Petition Date, the

Debtors      owe    approximately     $219,000        in   accrued     but   unpaid     Commissions

(the “Unpaid Commissions”).

       18.      As of the Petition Date, the Debtors estimate that they owe approximately $500,000

on account of accrued Unpaid Employee Compensation, Unpaid Independent Contractor

Obligations, and Unpaid Commissions earned prior to the Petition Date (collectively, the “Unpaid

Compensation Obligations”), all of which will come due within the first twenty-one days of these

chapter 11 cases.     As described above, if the Employees lose the Unpaid Compensation


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Obligations that they are owed, it could cause Employees to experience financial hardship. In light

of the substantial benefit the Employees will continue to provide to the Debtors’ estates, the

Debtors wish to avoid imposing such a hardship. The Debtors do not seek to pay Unpaid

Compensation to any Employee in excess of the $15,150 priority wage cap imposed by section

507(a)(4) of the Bankruptcy Code. Accordingly, by this motion the Debtors seek authority, but

not direction, to pay their Unpaid Compensation Obligations in the ordinary course and consistent

with past practice and to continue to pay all accruing Compensation Obligations in the ordinary

course.

          B.    Withholding Obligations.

          19.   During each applicable payroll period, the Debtors routinely deduct certain

amounts from Employees’ paychecks, including garnishments, child support, and similar

deductions,     legally   ordered   deductions,   and    miscellaneous    deductions    (collectively,

the “Deductions”), and forward such amounts to various third-party recipients.

          20.   In addition to the Deductions, certain federal and state laws require that the Debtors

withhold certain amounts from Employees’ gross pay related to federal, state, and local income

taxes, as well as Social Security and Medicare taxes (collectively, the “Employee Payroll Taxes”)

for remittance to the appropriate federal, state, or local taxing authorities. The Debtors must then

match the Employee Payroll Taxes from their own funds and pay, based upon a percentage of

gross payroll, additional amounts for federal and state unemployment insurance and Social

Security and Medicare taxes (together with the Employee Payroll Taxes, the “Payroll Taxes”).

The Payroll Taxes are generally processed and forwarded to the appropriate federal, state, and

local taxing authorities at the same time the Employees’ payroll checks are disbursed.




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       21.     As of the Petition Date, the Debtors estimate that they will have approximately

$205,000 in unpaid Deductions and Payroll Taxes (together, the “Withholding Obligations”)

outstanding, all of which will come due within the first twenty-one days of these chapter 11 cases.

By this motion, the Debtors seek authority, but not direction, to pay in a manner consistent with

historical practice any unpaid Withholding Obligations and to continue to honor the Withholding

Obligations in the ordinary course during the administration of these chapter 11 cases.

       C.      Payroll Processing.

       22. Certain Withholding Obligations for the Debtors’ Employees are processed by UKG

Solutions (“UKG”) using its cloud-based human capital management software system, Ulti-Pro.

The Debtors pay approximately $15,000 per month for such services. As of the Petition Date, the

Debtors estimate that they owe $55,000 on account of prepetition payroll services (the “Unpaid

Payroll Processing Fees”). By this motion, the Debtors seek authority, but not direction, to pay

the Unpaid Payroll Processing Fees consistent with past practice and to continue payroll processing

in the ordinary course during the administration of these chapter 11 cases.

       D.      Reimbursable Expenses and Credit Card Obligations.

       23.     Prior to the Petition Date and in the ordinary course, the Debtors reimbursed

Employees for approved expenses incurred on behalf of the Debtors in the scope of their

employment (the “Reimbursable Expenses”). The Reimbursable Expenses are largely on account

of costs related to business travel, work-related meetings and communications, marketing,

professional development and supply purchases, each for reasonable business-related purposes.

Employees who pay up-front for Reimbursable Expenses apply for reimbursement by submitting

an expense report. Once the Debtors’ financial personnel have determined that the charges are for




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legitimate reimbursable business expenses, the Debtors reimburse the appropriate Employee for

such charges.

       24.      Historically, the Debtors pay Reimbursable Expenses of approximately $10,000 per

month in the aggregate. As of the Petition Date, the Debtors estimate that they owe approximately

$10,000 in aggregate Reimbursable Expenses.

       25.      In addition, the Debtors provide 30 Employees with corporate credit cards (the

“Credit Cards”) to be used strictly for upfront payment of Reimbursable Expenses and related

charges (the “Permitted Charges”), as overseen by the Debtors’ accounting personnel.           In

accordance with established company policy, the Permitted Charges are satisfied directly by the

Debtors, while Employees are held personally responsible for any amounts that do not qualify as

Permitted Charges. Historically, the Debtors have paid $135,000 per month on account of the

Permitted Charges and recurring, de minimis fees related to maintenance of the Credit Cards

(together, the “Credit Card Obligations”). As of the Petition Date, the Debtors estimate that they

owe, in the aggregate, approximately $130,000 on account of the Credit Card Obligations, all of

which has come due or will come due during the Interim Period.

       26.      Employees incurred the Reimbursable Expenses and Permitted Charges as business

expenses on the Debtors’ behalf and with the understanding that such expenses would be

reimbursed or paid fully.      Accordingly, to avoid harming Employees who incurred the

Reimbursable Expenses and Permitted Charges, who may become personally liable for such

expenses, the Debtors request authority, but not direction, to pay the Reimbursable Expenses and

Credit Card Obligations and to continue to pay the Reimbursable Expenses and Credit Card

Obligations in the ordinary course.




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II.    Employee Benefits Programs.

       27.     The Debtors offer certain of their Employees the ability to participate in a number

of insurance and benefits programs, including, among other programs, medical, vision and dental

plans, life insurance, accidental death and dismemberment insurance, disability benefits, workers’

compensation, retirement plans, incentive programs, paid time off, and other employee benefit

plans (collectively, the “Employee Benefits Programs”).

       28.     As described above, failure to continue the Employee Benefits Programs could

cause Employees to experience severe hardship. In light of the substantial benefit the Employees

have provided and will continue to provide to the Debtors’ estates, the Debtors wish to avoid

imposing such a hardship. Accordingly, by this motion, the Debtors seek authority, but not

direction, to: (a) pay any unpaid amounts due with respect to the Employee Benefits Programs;

and (b) continue to provide Employee Benefits Programs in the ordinary course during the

administration of these chapter 11 cases. As of the Petition Date, the Debtors estimate that they

owe approximately $130,000 on account of the Employee Benefits Programs, $130,000 of which

will come due within the first twenty-one days of these chapter 11 cases. The Employee Benefits

Programs are described in greater detail below.

       A.      Health Benefit Plans.

       29.     The Debtors offer full–time Employees and certain family members of Employees

the opportunity to participate in a number of health benefit plans, including medical, vision, and

dental plans (collectively, the “Health Benefit Plans”). The Debtors fund the Health Benefits

Plans through a combination of regular deductions from Employee wages and Debtor

contributions. Specifically, the Debtors provide the following effective on the first of the month

following 30 days of full-time employment:


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               Medical Plan:       The Debtors’ fully insured medical plan
                (the “Medical Plan”) is administered by United Healthcare. The
                Debtors historically pay approximately $115,000 per month for
                premiums related to the Medical Plan. The Debtors fund the
                Medical Plan, in part, with regular deductions from Employee
                wages. As of the Petition Date, the Debtors estimate that they owe
                approximately $115,000 on account of premiums due and owing
                under the Medical Plan.2

               Dental Plan: Additionally, the Debtors offer their Employees the
                option of participating in a fully-insured dental plan (the “Dental
                Plan”) administered by the United Healthcare. The Employees pay
                all premiums related to the Dental Plan through wage deductions.
                As of the Petition Date, the Debtors do not believe they have any
                premiums due under the Dental Plan.

               Vision Plan: The Debtors also offer their Employees the option of
                participating in a vision plan (the “Vision Plan”) administered by
                United Healthcare. The Employees pay all premiums related to the
                Vision Plan through wage deductions. As of the Petition Date, the
                Debtors do not believe they have any premiums due under the
                Vision Plan.

        30.     As required by law, the Debtors also offer coverage under certain of the Health

Benefit Plans to their former employees who have elected COBRA coverage. In the case of the

former employees who have elected COBRA coverage, the Debtors do not pay any premiums on

behalf of the Employees. Instead, such former employees pay the full amount of the premiums

directly to the Debtors. As part of the relief requested hereunder, the Debtors request authority to

pay any prepetition premium payments relating to COBRA coverage (which are fully paid by the

former employees) and to continue to make such payments in the ordinary course of business.




2   The Debtors also provide Employees who have enrolled in the Medical Plan the opportunity to contribute to an
    individually owned health savings account (“HSA”) which is maintained by United Healthcare. The HSA is
    funding by contributions by both the Employees and Debtors. The funds deposited in health savings accounts
    may be used to pay for a number of medical needs, including the purchase of eyeglasses, hearing aids and
    prescriptions. The Debtors historically pay approximately $1,400 per month for contributions to the Employee
    HSAs.

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       B.      Other Insurance, Disability Benefits, and Employee Assistance Programs.

              i.          Life and AD&D Insurance Programs.

       31.     The Debtors provide basic life and accidental death and dismemberment insurance

(the “Basic Life and AD&D Insurance”) to full-time Employees through United Healthcare. The

Debtors historically pay approximately $1,700 per month for premiums related to the Basic Life

and AD&D Insurance. As of the Petition Date, the Debtors do not believe they have any amounts

due to United Healthcare under the Basic Life and AD&D Insurance.

             ii.          Disability Benefits.

       32.     The Debtors provide Employees with short-term and long-term disability benefits

(the “Disability Benefits”) through United Healthcare.

       33.     The short-term disability benefit is a voluntary, Employee-funded program

administered by the Debtors. For full-time Employees, the short-term disability benefit replaces a

portion of the Employee’s income on the fourteenth consecutive day after the Employee is unable

to work due to injury or sickness.

       34.     The long-term disability benefit is also a voluntary, Employee-funded program

administered by the Debtors.        Once an Employee has exhausted their short-term disability

coverage and are still unable to return to work, Employees are eligible for long-term disability

coverage.    The long-term disability benefit replaces a portion of the Employee’s income.

Eligibility begins after a waiting period.

       35.     Because Employees pay for all costs of Disability Benefits, the Debtors do not

believe that they owe any amounts with respect to the Disability Benefits as of the Petition Date.

Nevertheless, out of an abundance of caution, they seek authority to continue to offer this benefit

in the ordinary course.


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        C.       Workers’ Compensation Program.

        36.      The Debtors maintain workers’ compensation insurance for their Employees (or are

otherwise self-insured) at the statutorily required level for each state in which the Debtors have

Employees (collectively, the “Workers’ Compensation Program”).                         The Debtors maintain

coverage for the Workers’ Compensation Program through Hartford Fire Insurance Company

(“Hartford”). The Workers’ Compensation Program is provided on a guaranteed cost basis with

no deductible nor self-insured retention. The Debtors pay a fixed premium, regardless of the

number or the amount of workers’ compensation claims.3

        37.      The Debtors must continue the claim assessment, determination, adjudication, and

payment process pursuant to the Workers’ Compensation Program without regard to whether such

liabilities are outstanding before the Petition Date to ensure that the Debtors comply with

applicable workers’ compensation laws and requirements. There are no open claims under the

Workers’ Compensation Program.

        38.      Because the Debtors are statutorily and/or contractually obligated to maintain the

Workers’ Compensation Program, their inability to do so may result in adverse legal consequences

that disrupt the restructuring process. The Debtors seek authority, but not direction, to (a) continue

the Workers’ Compensation Program in the ordinary course of business on a postpetition basis4

and (b) modify the automatic stay solely to allow Employees to assert claims under the Workers’

Compensation Program.



3   The Debtors intend to request payment of premiums due for the Workers’ Compensation Program through a
    separate motion to approve their insurance programs to be filed in these Chapter 11 cases.

4   The Debtors’ Workers’ Compensation Program may change postpetition in the ordinary course of business due
    to changes in applicable laws and regulations and the Debtors’ ability to meet requirements thereunder. By this
    Motion, the Debtors request authority to continue the Workers’ Compensation Program postpetition, including
    making any changes to current policy and practices that become necessary, subject to applicable law.

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       D.      401(k) Plan.

       39.     The Debtors offer eligible Employees the opportunity to participate in a 401(k) plan

(the “401(k) Plan”).     The 401(k) Plan generally provides for pre-tax salary deductions of

compensation up to limits set by the Internal Revenue Code.             The Debtors do not match an

Employee’s 401(k) Plan contributions (the “401(k) Contributions”).              The 401(k) Plan is

administered by Ascensus LLC (“Ascensus) and allows for automatic pre-tax wage deductions of

eligible compensation up to the limits set forth by the Internal Revenue Code. Each pay period,

the Debtors deduct the Employees’ 401(k) Contributions from the Employees’ paychecks (the

“401(k) Deductions”) and holds such amounts in trust until they are forwarded to Ascensus.

       40.     The Debtors also retain a record keeper and auditor for the 401(k) Plan. The costs

to pay for these services are paid jointly by funds contributed by the Debtors and funds deducted

directly from the 401(k) assets.      As of the Petition Date, the Debtors estimate they owe

approximately $15,000 for auditing costs. The Debtors seek authority to pay these outstanding

auditing costs, and otherwise honor their commitments to the 401(k) administrator, broker/advisor,

and auditor (whether due prepetition or arising postposition), in the ordinary course on a

postpetition basis.

       41.     Many Employees’ retirement savings solely consist of the 401(k) Plan. Thus, the

Debtors believe that continuing the 401(k) Plan is essential to maintaining Employee morale and

protecting Employee expectations. In addition, the Debtors believe that the 401(k) Deductions are

generally held in trust by the Debtors and are not property of their estates.

       42.     Accordingly, pursuant to the Interim Order and the Final Order, the Debtors seek

the authority, but not direction, to (a) continue the 401(k) Plan in the ordinary course of business

on a postpetition basis, (b) remit all 401(k) Deductions collected in the ordinary course of business,


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and (c) pay all outstanding obligations related to prepetition services. As of the Petition Date, the

Debtors estimate that they owe approximately $15,000 on account of the 401(k) Plan, $15,000 of

which will come due within the first twenty-one days of these chapter 11 cases.

       E.      Paid Time Off.

       43.     In the ordinary course of business, the Debtors provide paid time off to certain of

their Employees (the “Paid Time Off”). Paid Time Off generally accrues at specified rates up to

a maximum amount based on applicable state limits, if any. The rate and maximum amount of

Paid Time Off that a given Employee is allowed to accrue varies based on position and time spent

with the company. Accrued Paid Time Off may be carried over from one year to the next, subject

to certain caps on maximums set by the Debtors.

       44.     Accruals of Paid Time Off, however, are not a current cash payment obligation. By

this Motion, the Debtors seek authority, but not direction, to pay any “cash out” amounts required

under applicable law with respect to earned but unused Paid Time Off and to continue the Paid

Time Off policy in the ordinary course. For the avoidance of doubt, the Debtors seek authority to

pay any “cash out” amounts required under applicable law with respect to earned but unused Paid

Time Off in excess of $15,150 solely pursuant to the Final Order.

       45.     In addition, the Debtors provide certain other forms of paid and unpaid leave,

including, for example, (a) paid holidays, (b) leave under the Family and Medical Leave Act, and

(c) other paid and unpaid leaves of absence for personal reasons, including those required by law.

Importantly, these other forms of paid and unpaid leave do not involve incremental cash outlays

beyond standard payroll obligations.

       46.     The Debtors believe that the continuation of Paid Time Off is essential to

maintaining Employee morale during these chapter 11 cases. Further, the policies are broad-based


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programs upon which all Employees have come to depend. The Debtors anticipate that their

Employees will utilize any accrued paid leave in the ordinary course of business, which will not

create any material cash flow requirements beyond the Debtors’ regular payroll obligations.

                                            Basis for Relief

I.      A Sufficient Cause Exists to Authorize the Debtors to Honor the Employee
        Compensation and Benefits.

        A.      Certain Employee Compensation and Benefits Are Entitled to Priority
                Treatment.

        47.     Sections 507(a)(4) and 507(a)(5) of the Bankruptcy Code entitle priority treatment

to certain of the Employee Compensation and Benefits owed to the Employees. The Debtors are

required to pay such priority claims in full to confirm a chapter 11 plan.           See 11 U.S.C.

§ 1129(a)(9)(b) (requiring payment of certain allowed unsecured claims for (a) wages, salaries, or

sick leave pay earned by an individual and (b) contributions to an employee benefit plan). Thus,

granting the relief sought herein should only affect the timing of certain payments to the

Employees and should not negatively affect recoveries for general unsecured creditors. Indeed,

the Debtors submit that payment of the Employee Compensation and Benefits at this time enhances

value for the benefit of all interested parties.

        B.      Payment of Certain Employee Compensation and Benefits Is Required by
                Law.

        48.     The Debtors seek authority to pay the applicable Withholding Obligations to the

appropriate third-party entities. These amounts principally represent Employee earnings that

governments, Employees, and judicial authorities have designated for deduction from the

Employees’ paychecks. Indeed, certain Withholding Obligations are not property of the Debtors’

estates because the Debtors have withheld such amounts from the Employees’ paychecks on

another party’s behalf. See 11 U.S.C. §§ 541(b)(1), (d). Further, federal and state laws require the

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Debtors to withhold certain tax payments from the Employees’ paychecks and to pay such amounts

to the appropriate taxing authority. 26 U.S.C. §§ 6672, 7501(a); see also City of Farrell v. Sharon

Steel Corp., 41 F.3d 92, 95–97 (3d Cir. 1994) (finding that state law requiring a corporate debtor

to withhold city income tax from its employees’ wages created a trust relationship between debtor

and the city for payment of withheld income taxes); In re DuCharmes & Co., 852 F.2d 194, 196

(6th Cir. 1988) (noting that individual officers of a company may be held personally liable for

failure to pay trust fund taxes). Because the Withholding Obligations may not be property of the

Debtors’ estates, the Debtors request that the Court authorize them to transmit the Withholding

Obligations on account of the Employees to the proper parties in the ordinary course of business.

       49.     Similarly, state laws require the Debtors to maintain the Workers’ Compensation

Program. If the Debtors fail to maintain the Workers’ Compensation Program, state laws may

prohibit the Debtors from operating in those states. Payment of all workers’ compensation

amounts is therefore crucial to the Debtors’ continued operations and the success of the Debtors’

ongoing chapter 11 process.

II.    Payment of the Employee Compensation and Benefits Is Proper Pursuant to
       Section 363(b) of the Bankruptcy Code and the Doctrine of Necessity.

       50.     Section 363(c)(1) of the Bankruptcy Code expressly grants the Debtors the

authority to “enter into transactions . . . in the ordinary course of business” and “use property of

the estate in the ordinary course of business without notice or a hearing.” Therefore, the Debtors

believe they are permitted to pay all postpetition amounts due pursuant to the Employee

Compensation and Benefits as such actions are in the ordinary course of the Debtors’ business.

Out of an abundance of caution, however, the Debtors seek entry of an order granting the relief

requested herein to avoid any disruptions to their business operations.



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       51.     The relief requested herein may be granted by the Court pursuant to sections 363(b)

and 105(a) of the Bankruptcy Code. Section 363 of the Bankruptcy Code provides, in relevant

part, that “[t]he [debtor], after notice and a hearing, may use, sell, or lease, other than in the

ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1). Under section 363(b),

courts require only that the debtor “show that a sound business purpose justifies such actions.”

In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999) (internal citations

omitted) (requiring that the debtor show a “sound business purpose” to justify its actions under

section 363 of the Bankruptcy Code); see also In re Phoenix Steel Corp., 82 B.R. 334, 335–36

(Bankr. D. Del. 1987). Moreover, “[w]here the debtor articulates a reasonable basis for its business

decisions (as distinct from a decision made arbitrarily or capriciously), courts will generally not

entertain objections to the debtor’s conduct.” In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr.

S.D.N.Y. 1986) (citation omitted); see also In re Tower Air, Inc., 416 F.3d 229, 238 (3d Cir. 2005)

(stating that “[o]vercoming the presumptions of the business judgment rule on the merits is a near-

Herculean task”).

       52.     In addition, the Court may authorize payment of prepetition claims in appropriate

circumstances under section 105(a) of the Bankruptcy Code. Section 105(a) of the Bankruptcy

Code, which codifies the inherent equitable powers of a bankruptcy court, empowers bankruptcy

courts to “issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” The Court may use its power under section 105(a) of the Bankruptcy

Code to authorize payment of the Employee Compensation and Benefits under the “necessity of

payment” rule (also referred to as the “doctrine of necessity”).

       53.     The United States Court of Appeals for the Third Circuit recognized the “necessity

of payment” doctrine in In re Lehigh & New England Ry. Co. 657 F.2d 570, 581 (3d Cir. 1981).


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The Third Circuit held that a court could authorize the payment of prepetition claims if such

payment was essential to the continued operation of the debtor. Id. (stating a court may authorize

payment of prepetition claims when there “is the possibility that the creditor will employ an

immediate economic sanction, failing such payment”).

       54.     The necessity of payment doctrine is designed to foster a debtor’s rehabilitation,

which courts have recognized is “the paramount policy and goal of Chapter 11.” In re Ionosphere

Clubs, Inc., 98 B.R. 174, 176 (Bankr. S.D.N.Y. 1989); see also In re Just for Feet, Inc., 242 B.R.

821, 826 (D. Del. 1999) (finding that payment of prepetition claims to certain trade vendors was

“essential to the survival of the debtor during the chapter 11 reorganization”); In re Quality

Interiors, Inc., 127 B.R. 391, 396 (Bankr. N.D. Ohio 1991) (“[P]ayment by a debtor-in-possession

of pre-petition claims outside of a confirmed plan of reorganization is generally prohibited by the

Bankruptcy Code,” but “[a] general practice has developed . . . where bankruptcy courts permit

the payment of certain pre-petition claims, pursuant to 11 U.S.C. § 105, where the debtor will be

unable to reorganize without such payment.”); In re Eagle-Picher Indus., Inc., 124 B.R. 1021,

1023 (Bankr. S.D. Ohio 1991) (approving payment of prepetition unsecured claims of toolmakers

as “necessary to avert a serious threat to the Chapter 11 process”).

       55.     Payment of the Employee Compensation and Benefits is warranted under this

authority and the facts of these chapter 11 cases. The majority of the Employees rely exclusively

on the Employee Compensation and Benefits to satisfy their daily living expenses. Consequently,

Employees will be exposed to significant financial difficulties if the Debtors are not permitted to

honor obligations for unpaid Employee Compensation and Benefits. Additionally, continuing

ordinary course benefits will help maintain Employee morale and minimize the adverse effect of

the commencement of these chapter 11 cases on the Debtors’ ongoing business operations.


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       56.     Moreover, Employees provide the Debtors with services necessary to conduct the

Debtors’ business, and the Debtors believe that absent the payment of the Employee Compensation

and Benefits, the Debtors may experience turnover and instability at this critical time in these

chapter 11 cases. The Debtors believe that without these payments, the Employees may become

demoralized and unproductive because of the potential significant financial strain and other

hardships these Employees may face.        Such Employees may then elect to seek alternative

employment opportunities. Additionally, a significant portion of the value of the Debtors’ business

is tied to their workforce, which cannot be replaced without significant efforts—efforts that might

not be successful given the overhang of these chapter 11 cases. Enterprise value may be materially

impaired to the detriment of all stakeholders in such a scenario. The Debtors therefore believe that

payment of the prepetition obligations with respect to the Employee Compensation and Benefits

is a necessary and critical element of the Debtors’ efforts to preserve value and will give the

Debtors the greatest likelihood of retention of their Employees as the Debtors seek to operate their

business in these chapter 11 cases.

       57.     Indeed, courts in this district have recognized the importance of satisfying

employee obligations in cases requesting relief similar to that requested here. See, e.g., In re

Clover Techs. Grp., LLC, No. 19-12690 (KBO) (Bankr. D. Del. Jan. 21, 2020) (authorizing

Debtors to pay prepetition wages, salaries, other compensation, and reimbursable expenses and to

continue employee benefits programs on a final basis); In re Anna Holdings, Inc., No. 19-12551

(CSS) (Bankr. D. Del. Dec. 3, 2019) (authorizing debtors to satisfy prepetition wages,

compensation, and benefit obligations to their employees and continue employee compensation

and benefits programs in the ordinary course on an interim basis); In re Destination Maternity

Corp., et al., No. 19-12256 (BLS) (Bankr. D. Del. Nov. 12, 2019) (authorizing debtors to continue


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employee compensation and benefit programs and pay certain prepetition obligations related

thereto on a postpetition basis on a final basis); In re Forever 21, Inc., No. 19-12122 (KG) (Bankr.

D. Del. Oct. 28, 2019) (same); In re PES Holdings, LLC, No. 19-11626 (KG) (Bankr. D. Del. July

22, 2019) (same).5 Accordingly, the Debtors respectfully request that the Court authorize the

Debtors to pay and continue the Employee Compensation and Benefits in the ordinary course of

business and consistent with past practice.

III.       A Limited Waiver of the Automatic Stay for Workers’ Compensation Claims Is
           Appropriate Here.

           58.      Section 362(a)(1) of the Bankruptcy Code operates to stay:

           [T]he commencement or continuation, including the issuance or employment of
           process, of a judicial, administrative, or other action or proceeding against the
           debtor that was or could have been commenced before the commencement of the
           case under this title, or to recover a claim against the debtor that arose before the
           commencement of the case under this title . . . .

Section 362 of the Bankruptcy Code, however, permits a debtor or other parties in interest to

request a modification or termination of the automatic stay for “cause.” 11 U.S.C. § 362(d)(1).

           59.      The Debtors seek authorization, under section 362(d) of the Bankruptcy Code, to

permit their Employees to proceed with their claims against the Workers’ Compensation Program

in the appropriate judicial or administrative forum. The Debtors believe that cause exists to modify

the automatic stay because staying the Employee’s workers’ compensation claims could have a

detrimental effect on the financial well-being and morale of the Employees and lead to the

departure of certain Employees who are critical at this juncture. Such departures could cause a

severe disruption in the Debtors’ business to the detriment of all stakeholders. In addition, as noted

above, if the Debtors fail to maintain the Workers’ Compensation Program, state laws may prohibit


5      Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
       Copies of these orders are available upon request to the Debtors’ proposed counsel.

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the Debtors from operating in those states. Accordingly, the Debtors request a limited waiver of

the automatic stay for purposes of allowing the Debtors’ Workers’ Compensation Program to

proceed.

           Processing of Checks and Electronic Fund Transfers Should Be Authorized

       60.      The Debtors have sufficient funds to pay the amounts described in this motion in

the ordinary course of business by virtue of expected cash flows from ongoing business operations,

the proposed debtor-in-possession financing, and anticipated access to cash collateral. Under the

Debtors’ existing cash management system, the Debtors have made arrangements to readily

identify checks, wire transfer requests, or automated clearing house transfers with respect to

authorized payments related to this motion, as applicable. Accordingly, the Debtors believe that

checks, wire transfer requests, or automated clearing house transfers that are not related to

authorized payments will not be honored inadvertently. Therefore, the Debtors respectfully

request that the Court authorize all applicable financial institutions, when requested by the Debtors,

to receive, process, honor, and pay any and all checks, wire transfer requests, or automated clearing

house transfers in respect of the relief requested in this motion.

                   The Requirements of Bankruptcy Rule 6003 Are Satisfied

       61.      Bankruptcy Rule 6003 empowers a court to grant relief within the first twenty-one

days after the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable

harm.” Fed. R. Bankr. P. 6003. For the reasons discussed above, authorizing the Debtors to (a)

pay prepetition wages, salaries, other compensation, and reimbursable employee expenses and

(b) continue employee benefits programs in the ordinary course, including prepetition obligations

related thereto, and granting the other relief requested herein is integral to the Debtors’ ability to

transition their operations into these chapter 11 cases and the maintain value of their estate


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postpetition. Failure to receive such authorization and other relief during the first twenty-one days

of these chapter 11 cases would severely disrupt the Debtors’ operations at this critical juncture.

For the reasons discussed herein, the relief requested is necessary in order for the Debtors to

operate their business in the ordinary course, preserve the going concern value of the Debtors’

operations, and maximize the value of their estates for the benefit of all stakeholders. Accordingly,

the Debtors submit that they have satisfied the “immediate and irreparable harm” standard of

Bankruptcy Rule 6003 to support granting the relief requested herein.

                                       Reservation of Rights

       62.     Nothing contained in this motion or any actions taken by the Debtors pursuant to

relief granted in the Interim Order and Final Order is intended or should be construed as: (a) an

admission as to the validity, priority, or amount of any particular claim against a Debtor entity; (b)

a waiver of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim on

any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or

admission that any particular claim is of a type specified or defined in this motion; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any

other party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this motion are valid and the Debtors and all other parties-in-interest expressly reserve

their rights to contest the extent, validity, or perfection, or to seek avoidance of all such liens. If

the Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

intended and should not be construed as an admission as to the validity, priority, or amount of any




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particular claim or a waiver of the Debtors’ or any other party-in-interest’s rights to subsequently

dispute such claim.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       63.      To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                               Notice

       64.      The Debtors will provide notice of this Motion to: (a) United States Trustee for the

District of Delaware; (b) the United States Attorney’s Office for the District of Delaware; (c) the

state attorneys general for all states in which the Debtors conduct business; (d) the holders of the

thirty (30) largest unsecured claims against the Debtors on a consolidated basis; (e) counsel to the

prepetition lender; (f) counsel to the postpetition lender; and (g) any party that has requested notice

pursuant to Bankruptcy Rule 2002. As this Motion is seeking “first day” relief, within two business

days of the hearing on the Motion, the Debtors will serve copies of the Motion and any order

entered in respect to this Motion as required by Local Rule 9013-1(m).

                                         No Prior Request

       65.      No prior request for the relief sought in this motion has been made to this or any

other court.




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       WHEREFORE, the Debtors respectfully request entry of interim and final orders,

substantially in the forms attached hereto as Exhibit A and Exhibit B respectively, (a) granting

the relief requested herein and (b) granting such other relief as is just and proper.


 Dated: August 29, 2023                           PACHULSKI STANG ZIEHL & JONES LLP


                                                  /s/ Laura Davis Jones
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